          CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 1 of 22




STATE OF MINNESOTA                                                           DISTRICT COURT
COUNTY OF RAMSEY                                                SECOND JUDICIAL DISTRICT

                                                                        Case Type: Employment
     Abdullahi Ali,

                                        Plaintiff,
     v.                                                                 SUMMONS
     HealthEx Corp., HealthEx Couriers LLC,
     Joseph Montemarano, and Dustin Hoffman as
     individuals,

                                     Defendants.

              THE STATE OF MINNESOTA TO THE ABOVE-NAMED DEFENDANTS:
        1.     YOU ARE BEING .SUED. The Plaintiff has started a lawsuit against you. The
Plaintiffs Complaint against you is attached to this Summons. Do not throw these papers away.
They are official papers that affect your rights. You must respond to this lawsuit even though it
may not yet be filed with the Court and there may be no Court file number on this Summons.
2.      YOU MUST REPLY WITHIN 20 DAYS TO PROTECT YOUR RIGHTS. You must
give or mail to the person who signed this Summons a written response called an Answer within
20 days of the date on which you received this Summons. You must send a copy of your Answer
to the persons who signed this Summons located at: see addresses below.
3.      YOU MUST RESPOND TO EACH CLAIM. The Answer is your written response to the
Plaintiffs Complaint. In your Answer you must state whether you agree or disagree with each
paragraph of the Complaint. If you believe the Plaintiff should not be given everything asked for
In the Complaint, you must say so in your Answer.
4.          YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN RESPONSE
TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS SUMMONS. If you do not
Answer within 20 days, you will lose this case. You will not get to tell your side of the story, and
the Court may decide against you and award the Plaintiff everything asked for in the Complaint If
you do not want to contest the claims stated In the Complaint, you do not need to respond. A
Default Judgment can then be entered against you for the relief requested in the Complaint.
5.     LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you do not
have a lawyer, the Court Administrator may have information about places where you can get
                                                     1




                            Exhibit A - Notice of Removal
  CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 2 of 22




legal assistance. Even If you cannot get legal help, you must still provide a written Answer to
protect your rights or you may lose the case.
6.      ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or be ordered to
participate in an alternative dispute resolution process under Rule 114 of the Minnesota General
Rules of Practice. You must still send your wiitten response to the Complaint even if you expect
to use alternative means of resolving this dispute.




   Dated: September 19. 2019




                                                   101 Fifth Street East, Suite 2600
                                                   Saint Paul, MN 55101
                                                   Telephone: (651) 212a4919
                                                   Facsimile: (651) 212-4203
                                                   esatre@satrelaw.com
                                                   admin@satrelaw.com




                                               2
  CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 3 of 22




STATE OF MINNESOTA                                                          DISTRICT COURT
COUNTY OF RAMSEY                                                   SECOND JUDICIAL DISTRICT

                                                                        Case Type: Employment
  Abdullahi Ali,

                                         Plaintiff,                    COMPLAINT
  v.                                                              (JURY TRIAL DEMANDED)

  HealthEx Corp., HealthEx Couriers LLC,
  Joseph Montemarano and Dustin Hoffman as
  individuals,

                                      Defendants.

       Abdullahi Ali, Plaintiff above-named for his cause of action against Defendant states and

alleges as follows:

                                GENERAL ALLEGATIONS

       1.      Abdullahi Ali, (hereinafter "Plaintiff') is mani.ed adult male father of four young

children of East African origin, residing in the State of Minnesota.

       2. .    Defendant HealthEx Corp. (hereinafter "Company") is a New York company with a

registered office for service at 3 Ellis DR, Syosset, New York, 11791 and a principal office at 35

Powerhouse Road, Roslyn Heights, New York, 11577.

       3.      Defendant HealthEx Couriers LLC is a New York corporation that may be served

with process at 35 Powerhouse Road, Roslyn Heights, New York, 11577.

       4.      Defendant Joseph Montemarano (hereinafter "Montemarano") is an individual and

Director of Operations for HealthEx Corp. who may be served with process at 35 Powerhouse

Road, Roslyn Heights, New York, 11577.



                                                  1
   CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 4 of 22




       5.      Defendants principal place of business   in Minnesota is 105 Old Highway 8 NW,
Suite 2, New Brighton, MN 55112.

       6.      A business filing search for HealthEx Corp. and HealthEx Couriers LLC at the

Office of The Minnesota Secretary of State yielded no results.

       7.      Defendants have a contract in Minnesota with Fairview Health Services.

       8.      Defendant Dustin Hoffman (hereinafter ''Hoffinan") is an adult male resident of

Minnesota.

       9.      Hoffman was the regional manager for the Company in Minnesota throughout the

relevant period.

        10.    Venue is proper in this case since the events giving rise to these claims primarily

occurred ih Ramsey County and Plaintiff resides in Minnesota.

        11.    The Company describes their services as "a courier service that is dedicated

exclusively to the healthcare community. We have taken one of the oldest services known to man,

and updated it to satisfy the spec/fie needs and demands of the medical community. We offer live

dispatch 24 hours ofevery day, 3 65 days a year. We know that as patients' needs will continue to

evolve and change, so must our services. This is our challenge, and our commitment to our

customers. "
       12.         During Plaintiff's employment with Defendants, he was engaged in interstate

commerce and more specifically the delivery of medications.

       13.     During Plaintiff's employment with Defendants, the Company together with its

other entities i.e., HealthEx Corp., HealthEx Couriers LLC, Keith W. Kearney as an individual

and Dustin Hoffman were an enterprise engaged in commerce because they (l) had employees

                                                 2
   CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 5 of 22




engaged in commerce or in the production of goods for commerce or had        employees handling,
selling or otherwise working on goods or materials that have been moved in or produced for

commerce by others and (2) had an annual gross volume of sales made or business done of at

least $500,000 and they exercised control over the compensation practices at issue.

       14.     Whenever it is alleged that Defendants committed any act or omission, it is meant

that company's officers, directors, vice-principals, agents, servants or employees committed such

act or omission and that, at the time such act or omission was committed, it was done with the full

authorization, ratification or approval of Defendants or was done in the routine and normal course

and scope of employment of the company's officers, directors, vice-principals, agents, servants or

employees.

       15.     On or about May 27, 2017, Plaintiff was recruited by Defendants as a courier and

employee based on his relationship with the Somali community of which he is a member.

       16.     The Company relied upon Plaintiffs ability to recruit and translate as well as

develop a pool of candidates to serve as cow'iers.

       17.     At the time of his recruitment, Plaintiff was employed by Northland where his

monthly compensation averaged between $4,800 and $5,000,

       18.     Defendants failed to memorialize the terms of the agreement even though they

were required to do so. by Minnesota law (Minn. Stats. §181.55).
       19.     Glen Drake promised Plaintiff that, if he left Northland, he would have a

compensation package that would pay him between $80,000 and $90,000 per year inclusive of

performance bonuses.




                                                 3
  CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 6 of 22




       20.     As an additional incentive, Defendants offered Plaintiff employment as a courier
was $140 daily salary. Plaintiffs primary responsibility was to pick up and deliver biological

samples for Fairview while using his personal vehicle and covering all associated costs related to

the logistics of being a courier for Defendants.

       21.     For his position as dispatcher, Defendan�s• eventually paid Plaintiff and hourly

rate of approximately $16.25 per hour.

       22.     Plaintiff was also promised bonuses of $2,800 to be paid quarterly as additional

incentive to leave his position with Northland.

       23.     In his almost two years of service to the Company, Plaintiff did not receive any of

the promised bonuses.

       24.     Plaintiffs responsibilities did not meet the criteria to qualify for the FLSA executive

or administrative exemptions.

       25.     Defendants did not maintain time records and did not even have a time clock or

computer-based time tracking program.

       26.     Plaintiff worked 7 days per week on average over 10 hours per day and was on

call to troubleshoot any issues that arose during his time off

       27.     Plaintiff did not receive uninterrupted lunch breaks throughout his employment

with Defendants.

       28.     Plaintiff was also offered bonuses based on his recruitment of additional couriers

from the Somali community.

       29.     Plaintiff never received the promised bonuses for his recruitment efforts.



                                                   4
    CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 7 of 22




       30.     To avoid paying Plaintiff for all overtime hours worked, Defendants' aske.d Plaintiff

to refer to himself as a Dispatch Manager. A title he shared with two other employees even though

he did not act as a Manager.

       3L      Plaintiff was required to use his personal cell phone and did not receive any

subsidy from the Company even though the phone was being used for business.

       32.     Plaintiffs similarly situated white coworkers received cell phones and plans

provided and paid for by the Company.

       33.     Defendants failed to provide driver training even though they proclaim that

"HealthEx will only contract couriers who have been trained to handle and transport medication

and biological materials. The training must meet or exceed OSHA, HAZMAT, and HIPAA

standards for the healthcare industry. We've made the investments needed to consistently provide a

high levelofprofessional service."

       34.     Defendants' claim on thefr website under the heading "Driver Selection" that "All

prospective drivers go through a screening process that includes a department of motor vehicles

report, a social security verification, and a criminal background check. As a condition of

contracting with HealthEx, drivers also agree to participate in random drug testing. In addition,

although it may seem obvious and very simplistic, we try to find NICE people to make your

deliveries. The value of training or experience can be lost if the individual does not come across

as kind to your clients. We have notforgotten the importance of a smile and a good attitude in

our effort to provide you with the best possible drivers for your deliveries." Defendants' do not

maintain the documents that support their contention in this section.



                                                 5
    CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 8 of 22




        35.    Defendants also state on their website under the heading Driver Qualifications With

the sub heading "OSHA" that "the United States Department of Labor Occupational Safety and

Health Administration (OSHA) and the Department of Health & Human Services Centers For

Disease Control and Prevention (CDC) have set up specific guidelines and standards for the

handling of biological materials. Our drivers are qualified to uphold these standards both to

ensure the proper handling and integrity of your specimens, medication, or equipment as well as

for their own personal safety. This experience, as well as our use of equipment that meets OSHA 's

standards combine to provide our customers with reliable, OSHA compliant transportation. "
During the relevant period, couriers drove their personal vehicles and were not required to attend

any specialized training or ensure that their personal vehicles met the climate control and safety

requirements set out by the bodies they reference.

        36.    Defendants also required the use of their tracking equipment which was a

handheld scanner.

        3 7.   Defendants claim on their website under the heading of "HlPAA'9 The Health

Insurance Portability and Accountability Act (HIPAA) has had an enormous impact on the

hfwlthcare community. Patient confidentiality is a major concern to each and every one of our

customers. As such, all patient information is handled with strict confidence and security in

compliance with HIPAA guidelines. Defendants did not conduct any training as to the
requirements drivers needed to satisfy HIPPA. Further many of drivers lacked the language

skills to access the content to understand HIPPA regulations and requirements.

       38.     Defendants required that Plaintiff and similarly situated coworkers comply with the

following: "All HealthEx couriers are in uniform and wearing a photo Identification badge as

                                                     6
   CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 9 of 22




dictated by your specific needs. Not only is this protocol mandatory at many facilities and

practices, but it gives peace of mind to all patients, administrators, and medical · staff that we

encounter every day.     JI   As a result, Plaintiff was presented as an employee of Health Ex when he

acted as a comier.

        39.        Defendants advertise and contract with their customers that drivers would be

utilizing equipment that satisfies the following: Climate Control "When it comes to medical

transport, temperature control is often a factor. Whether the concern is keeping a specimen frozen

or keeping medication refrigerated, HealthEx has the equipment to maintain the integrity of your

deliveries. The reality throughout the relevant period was that drivers used their personal vehicles
              JI




in an 'as is' state and received no special equipment or training to ensure that they satisfied this

essential requirement.

        40.        Plaintiff informed his superiors at the Company that co\lliers had not received the

training they proclaim on their website each courier has received.

        41.        Further, some training for HIPPA, HAZMAT and OSHA requires certifications to

be earned and continuing education on a cycle for compliance. Plaintiff informed the Company that

they had not been meeting those requirements via email to the director of operations, Joseph

Montemarano. Despite that good faith report, no action was taken aside from actions tal,en against

Plaintiff.

        42.        Defendants violated the FLSA by employing Plaintiff as a nonexempt employee

"for a. workweek longer than forty hours [but refusing to compensate him] for employment more

than [forty] hours... at a rate not less than one and one-half times the regular rate at which [they are

or were] employed." 29 U.S.C. § 207(a)(l). He did not meet the requirements of the administrative

                                                     7
   CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 10 of 22




exemption because he did not have independent discretion on matters of significance within the
organization and he was often micro�managed by his Manager.

       43.     Defendants violated the FLSA by failing to maintain accurate time and pay records

for Plaintiff, as a nonexempt employee as required by 29 U.S.C. § 2ll(c) and 29 C.F.R. pt. 516.

       44.     Defendants knew or should have known that their scheme for payment was illegal

and that it improperly categorized Plaintiff as salaried employee even though he did not qualify

for exempt status under the Fair Labor Standal'ds Act.

       45.     Plaintiff was misclassified as an exempt employee, so Defendant could avoid

overtime rules. In addition, Defendant intentionally failed to track Plaintiffs time as required by

the FLSA. Furthermore, throughout Plaintiff's employment with Defendant, his agreed upon rate of

pay was consistently shorted.

       46.     Defendants promulgated employment compensation policies that Plaintiff was

forced to comply   with.   In other words, Defendants, through its management, (1) possessed the

authority to hire or fire Plaintiff; (2) supervised or controlled Plaintiffs schedule and/or conditions

of employment; and (3) detemlined Plaintiffs compensation which was inaccurate.

       47.     Plaintiff never received compensation for any overtime hours worked. Defendants

did not pay Plaintiff overtime "at a rate not less than one and one.,half times the regular rate at

which he [was] employed." 29 U.S.C. § 207(a)(l).

        48.     Instead, Defendants paid Plaintiff a flat sum for each day's work regardless of the

number of hours he worked in a workweek.

        49.     Defendants knew or showed a reckless disregard for whether its pay practices

violated the FLSA.

                                                   8
   CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 11 of 22




        50.     Defendants are liable to Plaintiff for his unpaid overtime wages, liquidated damages
and attorney's fees .and costs pursuant to 29 U.S.C. § 216(b).

        51.     Plaintiff never had a scheduled or uninterrupted lunch period at any point during his

employment with Defendant.

        52.     As a result of Plaintiffs whistleblowing [for failure to pay, wage and hour, illegal

drug useJ complaint and discrimination complaints was terminated for false reasons.

       53.      After Plaintiff's termination, he made multiple attempts at obtaining payment of all

outstanding earned wages owed to him by Defendants and received no reply.

        54.     Plaintiff contacted the Company's representative Nina Lebron. She responded to

Plaintiff's demands for payment and repeated complaints regarding illegal activities at the

Minnesota office with threats of litigation against Plaintiff.

        55.     Plaintiff has not received payment, or any other communication following his

written demand for payment from Defendants.

        56.     Plaintiff was subjected to racial discrimination by similarly-situated coworker Kris

Tillman [who was in a relationship with Dustin Hoffman] and she even called him ''Nigger".

        57.     In addition, Kris Tillman threatened to call the police on Plaintiff due to a workplace

dispute and directed a discriminatory comment based on his national origin when she stated "I will

have you talcen out of here. You don't even belong in this country."

       58.      On numerous occasions, Plaintiffhad complained to the company that Tillman and

Hoffman were illegally using marijuana in the company offices.

        59.     Further, Tillman and Hoffman were in engaged in a personal relationship and started

to use a Company office for the purpose of housing Tillman's children instead of a daycare.

                                                    9
 CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 12 of 22




       60.     Plaintiff complained about these activities to the Company's Operations Director
Joseph Montemarano.

       61.     Plaintiff was also subjected to discriminatory behaviors by his immediate. supervisor

Hoffman. Hoffman called Plaintiff a Nigger on no less than two occasions.

       62.     One disagreement which precipitated Hoffman calling Plaintiff a Nigger was due to

Plaintiffs refusal to take on an additional driver route that Hoffman could not get covered, but

expected Plaintiff to cover even though that was not part of his job duties and similarly situated

white employees did not have to perform the double duty.

       63.     The covering of an additional route was not within the scope of Plaintiffs

responsibilities as an employee [or even a misclassified independent contractor] with the Company.

                                  COUNT I
      FALSE STATEMENTS AS INDUCEMENT TO ENTERING EMPLOYMENT
                   Violation of Minnesota Statutes § 181.64
                     (Against the corporate Defendants)

       Plaintiff rea1leges and incorporates herein by reference the allegations in the proceeding

paragraphs.

       64.     The Company induced Plaintiff into accepting employment in early June of 2017,

Plaintiff met with Glen Drake to discuss the employment opportunity.

       65.     At the above referenced meeting, Plaintiff was verbally offered the position and

was given a strut date in the second week of June 2017 with assurances that his compensation

package that would pay hitn between $80,000 and $90,000 per year inclusive of performance

bonuses.




                                                10
 CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 13 of 22




        66.    The actual wage paid by Defendant once Plaintiffs employment began was
approximately $16.25 per hour.

        67.    At the time of his resignation from Northland, Plaintiff averaged between $4,800

and $5,000 per month.

        68.    Plaintiff relied on the false statements to move his employment.

        69.    As a direct and proximate result of the acts alleged above, Plaintiff has suffered

and continues to suffer damages including, but not limited to economic loss and emotional

distress.

                                           COUNTH
                    VIOLATION OF MINNESOTA STATUTES §181.932
                          (Against the Corporate Defendants)

        70.    Plaintiff made many reports of illegal conduct throughout his employment which

culminated in a final good faith report of illegal conduct reported to defendants through Dustin

Hoffman and Nina Lebron that he had not been paid all wages and bonuses.

        71.    Plaintiff communicated that h¢ had not been paid all of his outstanding wages.

        72.    As a result of Plaintiff's complaint, he was terminated by Dustin Hoffman.

        73.    The multjple internal reports including, wage theft, failure to pay, drug use ih the

workplace, failure to pay independent contractors, failure to comply with HIPPA, HAZMAT and

OSHA, racial and national origin discrimination that Plaintiff made and described herein, are

protected conduct the Minnesota whistleblower statute intended to protect.

        74.    Defendants retaliated against Plaintiff by terminating his employment and said

retaliation is in violation of Minnesota Statutes, section 181.932 et seq. for Plaintiff engaging in

protected conduct described herein.

                                                11
    CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 14 of 22




           75.    As a direct and proximate result of the retaliation described herein Plaintiff has
suffered from severe emotional distress, loss of fringe benefits, and loss of wages in the past and

in the future.

                                            COUNT III
                     VIOLATION OF MINNESOTA STATUTES §181.13/14
                                       Failure to Pay
                             (Against the Corporate Defendants)

           Plaintiff alleges and incorporates herein by reference the allegations in the preceding

paragraphs.

           76.    Following his termination, Plaintiff requested in writing that Defendants pay the

wages due and owing to him.

           77.    The corporate Defendants have refused to pay Plaintiff his full pay.

           78.    The corporate Defendants' failure to pay Plaintiff the wages owed is a violation of

Minnesota Statute section 181.13, subjecting the employer to penalties as provided under the

statute.

           79;    Plaintiff is entitled to costs and disbursements, and attomey's fees as provided

under Minnesota Statute section 181.171 et seq.
                                      f
           80.    Therefore, Plaintif has been damaged in the amount of his unpaid wages as well

as the 15-day daily wage penalty and his reasonable attorney fees and costs.
                                             COUNTIV
                                        Promissory Estoppel
                                  (Against the Corporate Defendants)

           Plaintiff alleges and incorporates herein by reference the allegations in the preceding

paragraphs.


                                                  12
 CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 15 of 22




       81.     Defendants promised Plaintiff was that he would be paid at least $70,000 per year
if he accepted employment and left his prior employment.

       82.     Plaintiff was also promised bonuses for additional work performed recruiting

other members of the Somali community, translating and acting as a liaison in the amount of

$2,800 every three months.

       83.     The only reason Plaintiff agreed to perform the additional work and overtime was

the promise of the additional bonus pay.

       84.     Defendants defrauded Plaintiff by promising bonuses for additional work

including overtime and never making payment even when requested in person and then in the

form of a wi'itten demand.

       85.     Defendants have benefited from the services of Plaintiff and it is reasonable to

enforce the promises made by Defendants to avoid an injustice.

       86      Plaintiff demands damages and consequential damages for this cause of action as

more fully set forth below.

       87.     The promise must be enforced to avoid an injustice to the promisee. See Cohenv.

Cowles Media Co., 479 N.W.2d 387,391 (Minn. 1992).

                                          COUNTY
                                      Breach of Contract
                              (Against the Corporate Defendants)

       Plaintiff alleges and incorporates herein by reference the allegations in the preceding

paragraphs.

       88.     Plaintiff accepted employment under the terms of the offers i'eferred to hetein.

However, Defendants repeatedly failed to even honor those terms.


                                              13
    CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 16 of 22




       89.       Defendants failed to even pay Plaintiff the $70,000he was promised in addition to
the bonuses he was promised for translation services as described at paragraph 82 herein. In

addition, Defendants simply refused to pay for days that had been worked.

       90.       Plaintiff accepted the offers, and he perfonned the additional work requested as

referred to in the preceding paragraphs.

       91.       However, Defendants refused to honor their promises for the additional work and

often even failed to pay anything [even the legally required overtime] for the additional work.

       92.       As a direct and proximate result of said breaches, Plaintiff suffered loss of

income.

                                           COUNT VI
                                       Uniust Enrichment
                                (Against the Corporate Defendants)

       Plaintiff alleges and incorporates herein by reference the allegations in the preceding

paragraphs.

       93.       Defendants have received a benefit of money because of its promises to pay

Plaintiff and then its willful disregard of those promises. Defendants did so for the joint purpose

of depriving Plaintiff of the full and correct amount of compensation owed to him pursuant to the

agreement and to keep the money under no claim of right.
       94.       Defendants have received a benefit of money they received illegally or unjustly

when they committed the theft of wages, they assured Plaintiff they would pay.

       95.       Defendants have knowingly and without legal justification accepted such the

benefit of Plaintiff's work and the compensation due for that work, thereby depriving Plaintiff of

such benefits.

                                                 14
   CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 17 of 22




       96.      Defendants have retained such benefits under the circumstances that would make
it inequitable and an unjust enrichment for Defendant to retain those benefits.

       97.      As a direct and proximate result of Defendants' unjust enrichment, Plaintiff has

suffered damages, including, but not limited to, lost wages.

                                           COUNT VII
                 STATE AND FEDERAL FAIR LABOR STANDARDS ACT
                    29 USC§ 201 et seq., and Minn. Stat. §177.25, subd. 1.
                        (Against the Corporate and Individual Defendants)

       Plaintiff re-alleges and incorporates herein by refetence the allegations in the proceeding
paragraphs.
       98.      At all times relevant, Defendants have been, and continue to be an "employer"

(any person acting directly or indirectly in the interest of an employer in relation to an employee)

as defined by the FLSA and engaged in interstate commerce and/or in the production of goods

for commerce, within the meaning of the Fair Labor Standards Act, 29 U.S.C. § 203 (hereinafter

"FLSA'').     At all relevant times, upon information and belief, Defendants have had gross

operating revenues in excess of $500,000.00.

       99.      The FLSA requires each covered employer, such as Defendants herein, to

compensate all non-exempt employees at a rate of not less than one and one�half times the

regular rate of pay for work perfomied more than forty hours per work week. Likewise, the

Minnesota Fair Labor Standards Act requires each covered employer, such as Defendant herein,

to compensate all non-exempt employees at a rate of not less than one and one-half times the

regular rate of pay for work performed more than forty-eight hours per work week.

       100.     Plaintiff is entitled to be paid overtime compensation for all hours worked more

than forty w1der federal law and forty-eight under state law.

                                                15
   CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 18 of 22




        101.    Defendants, pursuant to their policies and practices,        including improperly
categorizing all delivery drivers as independent contractors with no basis for doing so, and also

failed and refused to pay overtime and overtime premiums to Plaintiff for all hours worked in

excess of forty hours.

        102.    Plaintiff was not provided the promised one hour per day for lunch nor did he

receive the minimum of 30 minutes for an uninterrupted lunch period for an 8-hour workday.

        103.    Defendant rotated Plaintiffs alleged exemption status, at various times claiming

that he paid a salary and at other times claiming that he was paid hourly;

       104.     By failing to provide Plaintiff with lawful overtime compensation, and firing him

when he complained about the illegal pay practices Defendants have violated the FLSA, 29

U.S.C. § 201 et seq. and the Minnesota Fair Labor Standards Act.

        I 05.   The foregoing conduct, as alleged herein, fOnstitutes a willful violation of the

FLSA within the meaning of 29 U.S.C. § 255(a).

        106.    Among other remedies, Plaintiff seeks damages in the amount of his respective

lost wages past and future as well as unpaid overtime and regular time compensation, liquidated·

damages as provided by the MFLSA and the FLSA § 216(b), interest, and such other legal and

equitable relief as the Court deems proper and just.

       107.     Plaintiff seeks recovery of attorneys' fees and costs to be paid   by Defendants,   as

provided by the FLSA and pursuant to the Minnesota FLSA.

       108.     As a direct and proximate result of these violations, Plaintiff suffered and

continues to suffer from the unpaid wages he is entitled to as a matter of law.

                                         COUNTVIH
                                 Violation of29 U.S.C. § 2U(c)
                                                16
    CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 19 of 22




                                (Against the Corporate Defendants)
       Plaintiff alleges and incorporates herein by reference the allegations in the preceding

paragraphs.

       109.    The FLSA requires employers to keep accurate records of hours worked by and

wages paid to nonexempt employees. 29 U.S.C. § 21 l(c); 29 C.F.R. pt. 516.

       110.    In addition to the pay violations of the FLSA described above, Defendants also

failed to keep proper time and pay records as required by the FLSA.

       111.    As a result, Plaintiff seeks damages for those violations.

                                         COUNT IX
               Violation of 42 USC §1981 and the MHRA Minn. Stats, §363A
                   National Origin, Racial. and Reprisal Discrimination
                       (Discrimination against the Corporate Defendants,
                            MHRA Reprisal against all defendants)

       Plaintiff alleges and incorporates herein by reference the allegations in the preceding

paragraphs.

       112.    Plaintiff and similarly situated black co-workers of African origin and were and

continue to be subjected to disparate treatment based on their national origin.

       113.    Plaintiff was treated differently than similarly situated white co-workers and he

was expected to be on call when his white coworkers were not required to work nearly as many

hours for the same pay. He was also subject to a pay scheme and falsely induced to accept

additional and overtime work as well as the pl'omise of additional pay communicated as a bonus.

       114.    Plaintiff communicated with several African origin coNworkers and determined

that the payment scheme was being applied to them as a group.



                                                 17
      CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 20 of 22




        115 •   Defendant Dustin Hoffman and Tillman made directly discriminatory comments

which were part of the discriminatory practices. When Plaintiff complained about the

discriminatory practices he was subjected to retaliation/reprisal up to and including te1mination.

        116.    As a direct and proximate result violations Plaintiff suffered and continues to

suffer damages including but not limited to lost wages as well as emotional distress and suffering

past and future.

                                    COUNTX
               VIOLATION OF MINN. STATS. §§177.30 AND 181.032
      FAILURE TO KEEP RECORDS AND PROVIDE.AN EARNINGS STATEMENT
                       (Against the Corporate Defendants)

        Plaintiff realleges and incorporates herein by reference the allegations in the proceeding

paragraphs.

        117.    Throughout the relevant time-period, Defendant was an employer within the

meaning of Minnesota Statute section 177.23, Subdivision 6, and subject to the requirements of

Minnesota Statute section 177.30, Subdivision 1, which provides in pertinent part:

        118.    Every employer subject to sections 177.21 to 171.35 must make and keep a record

of:

                •      The name, address. and occupation of each employee;
                •      The rate of pay per hour, and the amount paid each pay period to each
                       employee; and
                .,     The hours worked each day and each workweek by the employee...

        119.    Plaintiff is entitled to the protections of Minnesota Statute section 177.30,

Subdivision 1 and § 181.032.

        120.    Defendant has violated the above provisions by failing to keep records of

Plaintiff's rate of pay a.nd hours worked each day and workweek or to provide them to her.

                                                18
      CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 21 of 22




        121.   Defendant is liable to Plaintiff for compensatozy and
                                                                     liquidat    ed damages, a civil
penalty for each violation, plus costs, disburse
                                                 ments, witness and attorney's fees, pursuant
                                                                                              to
Minn. Stat. § 177.27, Subdivision 10 in an aggregate sum
                                                         in excess $50,000.00.

                                            RELIEF

WHEREFORE, Plaintiff respectfully asks the Cowt to award judgment against Defendant as
follows:

   l . Compensatory and Special damages to be paid by all Defendants to Plaintiff in an amount
       in excess of Fifty Thousand and No/100 ($50,000.00) dollars.

   2. Damages under Minnesota statutes 181.171 for fees and costs and 181.13 for the 15-day
      daily wage penalty.

   3. Any and all damages under Minnesota Statutes section 1'81.935 including any and all
      damages recoverable at law as well as costs and disbw·sements, including reasonable
      attorney's fees, and may receive such injunctive and other equitable relief as determined
      by the court.

   4. All damages sustained in consequence of the false or deceptive representations, or false
      pretenses used to induce the person to enter into or change a place of employment, in
      addition to all such actual damages such person may have sustained, shall have the right
      to recover such reasonable attorney fees as the court shall fix, to be taxed as costs in any
      judgment recovered.

   5. Against all Defendants, for all statutory damages in the amount of Plaintiffs unpaid
                                                                                      .
      ove1time compensation, including but not limited to liquidated damages as provided by
      the FLSA, 29 U.S.C. § 216(b), and the Minnesota FLSA interest, and such other legal and
      equitable relief as the Court deems proper and just.

   6. Against all Defendants, for a�l statutory damages, including a§tt��;(Y:;
                                                                                 :J :: :f!:!�0   �:

      paid by Defendant, as provided by the FLSA, 29
                                                            U.S.C.
      FLSA.
                                                             suffering losses as well � c��l
   7 Past and future wage loss and emotional distress and
                                                        with attorney fees and coSts un er e
    · penalties and punitive damages and treble damages
                                                     .
      Minnesota Human Rights Act and 42 USC § 1981
                                                         ts.
    8. Reasonable attorney's fees on all applicable coun
                                                      men      t interest.
    9. Costs and disbursements, and pre and postGjudg
                                             19
   CASE 0:19-cv-02873-PJS-KMM Document 1-1 Filed 11/11/19 Page 22 of 22




    l 0. For such other relief as this Court deems just and equitable.


   Dated: September 19, 2019                        SATRE LAW FIRM

                                                         ��        ',/)�
                                                        D. Satre, MN Bar No. 183015
                                                    Attorney for Plaintiff
                                                    US Bank Center
                                                    101 Fifth Street East, Suite 2600
                                                    Saint Paul, MN 55101
                                                    Telephcme: (651) 212-4919
                                                    Facsimile: (651) 212-4203
                                                    esatre@satrelaw.com
                                                    admin@satrelaw.com


                                     ACKNOWLEDGMENT

The undersigned hereby acknowledges that costs, disbursements and reasonable attorney an.d
witness fees may be awarded pursuant to Minn. Stat. §549.211 to the party against whom the
allegations in this pleading are asserted.

Dated: September 19, 2019
                                                      Eric D. Satre (#183015)




                                                 20
